Case 5:21-cv-00333-TES Document1 Filed 09/10/21 Page 1 of 7

FILER? 21 09 10 PHOdOG HBGRHE:
(9/16) Complaint for a Civil Case

 

UNITED STATES DISTRICT COURT

for the
Middle District of Georgia

Appendix A
Case No.

 

(to be filled in by the Clerk's Office)

Jury Trial: feheck one) ie. [7] No

Ex Adus da hin
J Plaintiffs)
(Frite the full name of each plaintiff who ts filing this complaint.
Hthe names of all the plaintiffs cannot fit in the space above,
please write “see attached" in the space and attach an additional
page with the full ist of names.)
Yon

GA Depaawa 4 Gene  Jasne >

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” In the space and attach an additional page
with the full list of names.)

 

Ne el ee ee ee eee eee” ee” Smee” tear” Siete” Neer” Mica Teer”

COMPLAINT FOR A CIVIL CASE

I, The Parties to This Complaint
A The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

 

needed.
Name Cady t. recun
Street Address Bo S Hox  |EuUG
Citv and Countv a feaok
State and Zin Cade CA aq, QV &
Telephone Number W1K ASd AQOt
\
E-mail Address VAaning Lodys@® Wahu Co:
SG J

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (iinown). Attach additional pages if needed.

19

 
Case 5:21-cv-00333-TES Document1 Filed 09/10/21 Page 2 of 7

(9/16) Complaint for a Civil Case

Defendant No. 1

 

 

 

 

 

m ‘ ‘ 4

Name (owaic  Deparmom of Juvenwe, Tushee
. cI tl -

Job or Title 4f known) Cane toe C boca tun]

Street Address Dus? coyinaten  hauwey

Citv and County Peceatuc / De Matin

State and Zip Code Ga “30035.

Telephone Number iisu See €45b0

 

E-mail Address (if known)

 

Defendant No. 2
Name

 

Job or Title 4f known)

 

Street Address

 

Citv and County

 

State and Zin Code

 

Telephone Number

 

E-mail Address Gf known)

 

Defendant No. 3
Name

 

Job or Title ffknown)

 

Street Address

 

Citv and County

 

State and Zin Code

 

Telephone Number

 

E-mail Address “if known)

 

Defendant No. 4

Name

 

Job or Title ff known)

 

Street Address

 

Citv and County

 

State and Zin Code

 

Telephone Number

 

 

E-mail Address df known)

 

20
Case 5:21-cv-00333-TES Document1 Filed 09/10/21 Page 3 of 7

(9/16) Complaint for a Civil Case

 

i,

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal Jaws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

SAGieral question [_] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

 

 

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship

 

 

1, The Plaintiff(s)
a. If the plaintiff is an individual
The vlaimtiff. fame) Gi adec Barua . is a citizen of the
State of fname) GCowrert &
Nad
b. If the plaintiff is a corporation
The vlaintiff. tame) . is incorporated

 

under the laws of the State of fname)

 

and has its principal place of business in the State of frame)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

 

 

 

a, If the defendant is an individual
The defendant. fname) .is a citizen of
the State of fname) . Or is a citizen of
(foreign nation}

b. If the defendant is a corporation

21

 

 
Case 5:21-cv-00333-TES Document1 Filed 09/10/21 Page 4 of 7

(9/16) Complaint for a Civil Case

 

Hl.

IV.

The defendant. mame) Ga Deateronr SF Tavente “Tughep: is incornorated under
t . ?
the laws of the State of fname} Gower, iG . and has its

 

 

. a . 4 we &
vrincival place of business in the State of fame) Geeraig
ine
Or is incorvorated under the laws of (foreien nation)

 

and has its princival place of business in frame)

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

 

 

 

Statement of Claim

Write a short and plain statement of the claim, Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how cach defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct, If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

See. Giacted cde cunenv

 

 

 

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order, Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts, Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

Seo.  atracted Bo cumsat

 

 

 

 

22

 
Case 5:21-cv-00333-TES Document1 Filed 09/10/21 Page 5 of 7

Statement of Claim
I worked as a special education teacher in Eastman YDC from December 2011 to 08/21/2013.

On 08/21/2013, I was sexually assaulted, battered and falsely imprisoned by a student; Malik
Coleman. He was found guilty and criminally convicted for these offenses on 03/25/2015. After
the incident, a doctor diagnosed me with a mental disorder and recurring headaches with Aura. I
have been taking medication for these conditions since then; I attend regular Doctor’s visits for
follow ups and continued care. I have had to travel to Africa- Kenya for many months during
periods when I am unable to cater for my children due to pain; I travel to get help from family.

On 04/29/2021, my doctor informed me that my recurring headaches will not go away and that I
should prepare to have them the rest of my life.

Eastman YDC failed to monitor the classroom; I had no means of calling for help since there was
no phone in the classroom or intercom. As a result of this attack, I suffered mental and physical
injuries, pain and suffering, financial loss, and loss of dignity. These factors have rendered me no
longer able to engage in my chosen profession of Special Education teacher.

In 2017, a court allowed me to file a case, I hired an attorney to file a lawsuit. conned me 11000$
since he did not prosecute the case as a result my case was thrown out recently. This particular
attorney has been suspended by the Georgia Bar. Due to my mental incapacity; | request the
court to toll the statute of limitations and grant me a trial and relief. 1 am back in the United
States and living in warner Robins now.

Relief
I hereby request that:
The court find the defendant liable for my suffering due to negligence.

The court reward me special, general, and punitive damages in an amount to be determined by a
jury.
The court grant me trial by jury.

The court award me relief that it deems equitable and just.

Ciadys tron
C23

Olea} doay

 

 
Case 5:21-cv-00333-TES Document1 Filed 09/10/21 Page 6 of 7

(9/16) Complaint for a Civil Case

 

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonftivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule i1.

A. For Parties Without an Attorney
I agree to provide the Clerk's Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk's Office may result
in the dismissal of my case,

Date ofsienine: _04409\a094

Signature of Plaintiff (C2

Printed Name of Plaintiff Grade brea run,
at

 

 

B. For Attorneys

Date of signing:

 

Signature of Attornev
Printed Name of Attornev
Bar Number

 

 

 

Name of Law Firm
Street Address
State and Zin Code
Telephone Number
E-mail Address

 

 

 

 

 

APPENDIX B
23

 
Case 5:21-cv-00333-TES Document1 Filed 09/10/21 Page 7 of 7

CERTIFICATE OF SERVICE FORMAT

CERTIFICATE OF SERVICE

Thereby certify that a copy of the foregoing Comptan &y a Quvil Case.

 

(Name of pleading)
4
, , : Ho & ton Ma
was mailed/delivered toa SePadmtar + Faceted Gt ° Decaney) Choe : oe
(Name of defendant(s) or (Physical or E-Mail Address)

defendant’s attorney)

(eee

 

 

 

(Signature and date)
Do Pex [euq Bynn
(Address) Gk JIne
U2VE 2309904
(Phone Number)

24
